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IN THE UNITED STATES DISTRICT COURT

DISTRICT OF IDAHO

IDAHO REPUBLICAN PARTY, et.al.,
Plaintiffs,
vs.

BEN YSURSA, In his Official Capacity as
Secretary of State of the State of Idaho,

Defendant.

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Case No. 1:08-CV-00165-BLW

AFFIDAVIT OF
DENNIS MANSFIELD

Dennis Mansfield, being first duly sworn, deposes on oath and states:

1. lamnota party to this lawsuit. Each of the matters stated herein are known to

me of my personal knowledge and if sworn as a witness, | could testify

competently thereto.

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2. In 2000, | ran for the open 1®' Congressional District seat in the U.S. House of
Representatives.

3. In 2002 and 2006, | ran for the Idaho State Senate in District 15 against John
Andreason.

4. In the 2000 Congressional Primary, we had a vote goal total of 23,000 that it
would take to win the race. We succeeded in reaching that goal and still lost the
race.

5. The model we set up took into account Republican vote history for a Republican
Congressional Primary. When we went back to look at the race, we found a
number of areas that traditionally didn’t bring a Republican turnout. The idea that
we would see a large chunk of “Republican” voters in traditionally Democratic
strongholds presented anomalies.

6. In the 2000 race, there were a number of people within the educational
community who stated that “targeted areas within their community were
specifically influenced to strategically vote in the Republican Primary.”

7. In 2000, areas like Moscow had untraditionally large “Republican” turnout.
Whenever those anomalies showed up, | lost that area.

8. In the 2002 Senate race, there was a huge push by the Idaho Education
Association for Andreason. IEA-PACE donated $2,000 to Andreason’s campaign
in the 2002 election, and from 2000 through 2008, IEA-PACE has donated
$6,000 to Andreason’s campaigns.

9. The most obvious challenge to me was the impact of the IEA in both funding

strategic candidates and in walking precincts in their support.

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10. The IEA and IEA-PACE had a very aggressive precinct walking and literature
campaign endorsing Andreason.

11.Andreason was also endorsed and or supported by many well-known high-profile
Democrats.

12.In the 2002 Senate primary race against Andreason, there were 1160 more
ballots cast than were cast for U.S. Congressman “Butch” Otter, indicating a
large number of non-Republican voters participating in my Senate primary race.

13.1 was a lobbyist from 1991-2000 on some of the most conservative Republican
legislation drafted. The legislation matched and mirrored the GOP platform on
abortion, gay rights, homeschooling, tax credits and property taxes.

14.In terms of the 2000, 2002, and 2006 races, my inability to succeed in any of
those races with my past proven history and by anchoring these campaigns the
best | could to these issues points to obvious, strategic, non-party influence and
voting.

15.In the open primary, | was penalized for my adherence to and strict ownership of
Republican Party policies and positions.

16.Against Andreason, | felt as if | had to bridle my tongue on things like home
education because | knew that the typical democratic cross over voter would see
that as anti-education.

17.In 2006 we never even mentioned home schooling. Based on it being an open
primary, we knew that we would lose people and enrage the large bank of typical
education-issue crossover voters. We had to stick to issues we knew wouldn't

cost us.

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18.} wrote a major part of the home school legislation. However, | was not able to
mention that during my campaigns because of potential damage from cross over
voters.

19.In regards to spending, we had to consolidate our spending into about 9 or 10
mailers, all one after another in the 2006 elections. We amended our strategy
and had to do an overkill of our mailings and our automated phone campaigns in

a concentrated window, knowing that if we stretched it over a long period of time,
the IEA would put out a concentrated effort to combat us.

90. In order to not draw the combative attention in 2006, | had to announce late at
4:57 on the final day of filing, then had to raise and spend all our money in about
14 days to stay off the radar. | couldn't take the traditional long-range approach
without having to combat the Democrats and the |

FURTHER, AFFIANT SAYETH NOT.

ennis Mansfield
State of Idaho )

) ss.
County of Ada )

Subscribed and sworn to before me, a Notary Public in and for the State of Idaho
onthis 15 day of January, 2010.

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oN 4 My commission expires: t/23{20!

OTA 3
Ry 4 Residing At: Prowse, ID

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CERTIFICATE OF SERVICE

-A
| HEREBY CERTIFY that on this /7 day of January, 2010, | served a copy of the

foregoing Affidavit of Dennis Mansfield by email transmission, addressed to the
following persons:

Gary Allen

Givens Pursley

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